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                 JOHN MATTHEW FABIAN, PSY.D., J.D., ABPP
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               FORENSIC & CLINICAL NEUROPSYCHOLOGIST
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                 FORENSIC PSYCHOLOGICAL EVALUATION
       UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION
                           U.S. v. Patrick Murphy

                                            12/15/2014

DEFENDANT:          PATRICK MURPHY
DATE OF BIRTH:      10/03/1961
AGE:                53 Years
JUDGE:              United States Judge Lindsay and United States Magistrate Judge
                    David Horan
CHARGES:            Capital Murder
DATE OF EVALUATION: December 12, 2014
TDCF NUMBER:         999461

LEGAL REFERRAL:

Jeff Newberry, attorney from the University of Houston Law Center, requested I examine his federal
habeas client, Mr. Patrick Murphy, for a forensic psychological evaluation. Mr. Murphy is currently
residing in Death Row Pulunski Unit of the Texas Department of Criminal Justice (TDCJ). Mr.
Murphy was charged with capital murder and was a member of the "Texas Seven" robbery murder
case. He had a prior conviction of rape and was incarcerated in the TDCJ for this offense. He and six
other inmates escaped from prison. The date of murder was December 24, 2000 and his date of
arrest was January 23, 2001. He was sentenced to death in the State of Texas after a jury trial on
November 20, 2003. The alleged offenses occurred in Dallas County, Texas. Mr. Murphy was
sentenced to death and has been undergoing state and federal appeals. He is currently engaged in
his federal appellate process and Mr. Newberry requested that I examine him relevant to potential
psychological and psychiatric issues, especially pertaining to history of trauma. Mr. Newberry was
concerned that insufficient mitigation investigation was done at his initial trial.

STATEMENT OF NON-CONFIDENTIALITY/INFORMED CONSENT:

Part of my evaluations with Mr. Murphy at the TDCJ Pulunski Unit, I informed him of the nature
and purpose of the evaluation. He understood that any information he provided to me through
interview or psychological testing could be implemented into a forensic report that could be
reviewed by his lawyers, the US Attorney General's office and the federal judge/magistrate. He
understood that I could testify to this information in a court of law. He understood these issues and
agreed to proceed.

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SOURCES OF INFORMATION:

   1. Discussions with attorney, Jeff Newberry.
   2. Affidavits from various family members, collateral informants and expert witnesses.
   3. Affidavit of Linda Goodman.
   4. Affidavit of Bekh, Bradley, Davino.
   5. Affidavit of Allen Ray Skinner.
   6. Affidavit of Kristina Murphy Rogers.
   7. Mitigation records by Dr. Mark Vigen, expert at trial.
   8. Mitigation investigation notes by Mary Burdette.
   9. Records from Dr. Clayton.
   10. TDCJ correctional records.
   11. Military service records.
   12. Records from prison export S. O. Woods.
   13. Academic records.
   14. Neuropsychological evaluation from Dr. Laceritz.
   15. Parkland Memorial Hospital Records.
   16. Neuropsychological evaluation by Laura Laceritz, neuropsychologist.
   17. TDCJ records.
   18. Forensic and clinical interview of Mr. Murphy
   19. Detailed Assessment of Posttraumatic Stress

BACKGROUND FAMILY HISTORY:

Mr. Murphy stated he was born to Dallas, Texas. His mother's name is Carol, his father's name is
Patrick. These were his biological parents. He reported have five sisters and one brother but none
of them were full-blooded. His parents divorced when he was age two but he did not know why.
His father married a woman named Joyce and this was his second marriage. They had two
children, including Paula and Ganine. He then divorced Joyce and the girls were adopted out by
their grand-aunt and her lesbian lover. Mr. Murphy reported his father had then married a third
wife, named Patricia and they had a child named Kristina. They divorced and remarried and were
together when Patricia died. His mother married a man named Ray and they had a child named
Allen, but they divorced. She then married a man named Leslie Green. Leslie apparently was
sterile and could not have children and yet Mr. Murphy's mother became pregnant with two children
under Leslie's name. Leslie was a known child molester and received some counseling for these
issues. Mr. Murphy stated this came out in his trial. He was uncertain if Ray was a known child
molester. He has two half-sisters by his mother including Sheryl and Sandy and their father
apparently is Leslie.

Mr. Murphy stated his mother and father were both drop-outs in high school to his recollection. His
father was a truck driver, his mother was usually unemployed. He again did not know why his
biological parents divorced and he said he wanted to live with them for a limited time, up to about
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age two. After their divorce, Mr. Murphy continued to live with his mother during his childhood up
to about age 10. Mr. Murphy stated he had seen his father a couple of times when his father was
married to Joyce and he had some visitations. Mr. Murphy then stated he went to live with his
father around age 10. Up to that time he had seen his father only a couple times. The last time he
reported seeing his father was about age six or seven and then he lived with him at age 10.

Mr. Murphy was open and honest about childhood events and began acknowledged having a history
of significant behavioral problems. Before discussing these issues, he stated that he did experience
victimization as a child relevant to sexual abuse by different perpetrators. Mr. Murphy had also
recalled earlier domestic violence issues between his parents. He stated he must have been around
two years of age and his parents were in an argument and there was verbal arguing and shouting and
that his father had attempted to leave the house. His mother threw a knife at him which she stuck in
the door. He also recalled then living with his mother and she had a number of men come in and
out of the home and she was involved in a number of different relationships with him. Mr. Murphy
had recalled his mother and Ray (his first stepfather) often arguing. There was verbal domestic
type abuse. He recalled that Ray also had him sit on his lap and had molested him including anal
penetration on more than one occasion (beginning around age four). He said, "I buried some of the
memories of this, I can't tell you how long or how many times this happened for." He did recall
though talking about some of his childhood abuse with a prison psychologist on the Ferguson Unit in
the past and he said, "while they didn't really treat sex offenders in Texas prisons, I remember
writing a letter to Ray and I remember being very angry and that I would see him in hell." He
reported eventually disclosing some of this abuse when he was around 14, after he had gotten out of
the juvenile detention facility and he had a minister type counselor who he disclosed the sexual
abuse to.

Mr. Murphy then also disclosed some further sexual abuse by his second step-father figure, named
Leslie. Mr. Murphy had stated that Leslie was a very large man in stature and was somewhat
intimidating because of his size. He also noted that Leslie often was "a nudist" and would walk
around the house naked even when other family or friends came to visit. He was unable to have his
own friends visit the home because of his step-father's issues. He recalled that Leslie was very
emotionally and verbally abuse to Mr. Murphy and his mother. He reported on one occasion, "I
remember him holding me up and whipping me with a belt and holding me with one hand and
whipping with the belt with the other." He recalled also that Leslie was frequently abusive to his
mother and would slap her around. He then commented that Leslie frequently sexually assaulted
his mother in front of Mr. Murphy. "I remember once that I was in the room and he slapped her and
she was on her knees and he forced oral sex against her and she told him no and he yelled something
but he made her give him oral sex. On another occasion, I remember that he threw her over the
couch and penetrated her anally or vaginally and I remember it hurting my mother." There were
other times that he also reported sexual abuse or rape situations when Leslie threw his mother over
the couch and penetrated her against her will. Mr. Murphy explained that he did not believe that he
was ever formally sexually molested by Leslie, but he said there were traumatic type events in which
Leslie was physically abusive to Mr. Murphy while being naked.



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He had stated that he and his mother and half-brother went to live with who he believed was Cheryl's
father. He said that his children were abusive to Mr. Murphy and made him dress as a female,
"they were forcing me to dress in girl's clothes and it was very intimidating and tied me up and left
me in a closet." He also stated he does not recall all of these situations in his childhood and
somewhat blocked them out. Mr. Murphy had also provided another example of sexual trauma.
He said that he and his mother were walking to a convenient store and were near train tracks and a
stranger, black man had accosted her, physically attacked her, tore her panties down from her dress
and raped her. He said, "I tried to get him off of her and he threw me against the ground, raped my
mother and then ran off and she got up, straightened her dress and we walked home." Mr. Murphy
stated he does not recall exactly what happened after that between him and his mother, he could
remember the incident but stated that to his knowledge he never formally processed this experience
with a professional or with his mother. He reported this rape incident was around the same time
that Leslie had attacked and sexually her within the home. Mr. Murphy eventually had stated that
he was angry at his mother, from an early age, because she always seemed to let males abuse and
take advantage of her.

Mr. Murphy had stated that there were other sexual abuse incidents in his life and then noted he was
sexually abused by his mother around age nine. He stated that when he was about nine years of
age, that he would sleep in the same bed with his mother and his brother and baby sister. This
situation did not occur every night, as his mother often had relationships with other men within the
home that she would sleep with. However, he recalled that his mother on one occasion fondled him
and rubbed his penis and he rubbed her breast and sucked on her breast. Mr. Murphy explained
that he felt very confused as to this early sexual experience. He felt extremely conflicted as to this
connection between his mother that was sexual, but then her abuse and neglect that she inflicted
upon him. He said he had difficulties trusting his mother, but desired some attention, affection, and
love, and was drawn to her sexual touch at an early age as he thought she was loving him. He said
again he could not recall experiencing joy or satisfaction from the sexual experience with his mother
but rather confusion.

Mr. Murphy again commented that his mother was very loose with men. She never prostituted
herself but then he said that he recalled that she lived off of welfare and did not work and frequently
went to bars and brought men home, always one at a time but again she had numerous sexual
relations with different men who she brought around.

Mr. Murphy had reported another sexual abuse experience in which he was sexually abused by his
uncle, Arthur Singleton. This abuse began around age 14. He recounted his uncle was a truck
driver, similar to his father. He said that his Uncle Arthur and his father were actually biological
brothers. They were often on the road, then Uncle Arthur would come and visit and stay with Mr.
Murphy and the family. He said that Uncle Arthur would sleep in Mr. Murphy's bed with him and
that sexual abuse occurred in the bed together. He said he recalled that Uncle Arthur fondling Mr.
Murphy and he had an erection and initially had anal sex, penetrating his uncle. Mr. Murphy
questioned the nature of this sexual abuse and said he was "encouraged" and even enjoyed it himself.
He said they were both consenting partners at that time and the uncle also anally penetrated him at a
later date. These incidences occurred only a few times. He reported there was oral sex by the
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uncle to him on one occasion and he described this as "rough oral sex." There were no physical
assaults, violence or death threats in these sexual abuse incidences. Mr. Murphy then recounted he
resisted (but not very much) the sexual abuse encounters with his uncle. After a couple of these
experiences, Mr. Murphy stated that on one occasion his uncle did have anal sex with him which
bothered him greatly. He said, “It was kind of consented but I was upset about it and later on that
night I came up to him when he was sleeping and I put a knife to his neck and I told my uncle that
I would kill him if he ever did this to me again.” Mr. Murphy stated that this was the last sexual
encounter abuse situation that he had with his uncle. He said that his Uncle Arthur was a known
child molester and is actually serving time through TDCJ for molesting his step-children.

Mr. Murphy reported experiencing physical abuse during his childhood. He says his mother was
harsh with discipline and often would use belts, as did Leslie, Ray and his father. He did report that
his father was especially brutal on more than one occasion and said that he was beaten for not doing
his laundry right and he received welts over his legs from the belt.

Mr. Murphy again had recalled moving in with his father at age 10 because he acknowledged
having a number of behavioral problems as a youth. He also reported a history of abuse by his
father. During the evaluation, Mr. Murphy had stated that his father was, in his belief, very abusive,
"he wore the belt out on me." He reported significant whoopings with the belt for a number of
different types of issues such as poor grades or behavioral problems or not doing chores on time.
He said he would often act out, run away and was rebellious. He recalled at age nine that he stole
something from his aunt and then he was in trouble with his mother and he wanted to avoid
punishment and was living with his friends and sleeping in a school bus. He was afraid to return to
his mother's house. He did report early antisocial oppositional behaviors. He reported that he was
often chased around the house by his mother with a belt. He did believe that she was abusive. He
also did not like the way his mother was treated by different men and the fact that they were abusive
towards her and him. He rebelled by running away and also wanted to live with his father. He
then lived with his father around age 10. Many of his early antisocial behaviors include running
away to avoid the chaos and abuse at home.

Summary of Records/Affidavits

There were records and affidavits available to review. Mr. Murphy's maternal aunt, Linda
Goodman, had stated that Carol never wanted to be a mother and resented Patrick for existing. She
felt her high school education was interrupted and her own life was put on hold due to her giving
birth to Patrick. She then quit school. Linda noted that after Carol gave birth to Patrick, Patrick
Sr. did not want to have another baby. He actually knocked Carol across the room and she
miscarried. Mr. Murphy stated that he recalled his mother miscarried more than once.

Linda stated that Carol abandoned Patrick at a very young age and she dropped him off at Linda's
parent's house and would be gone for days and weeks at a time, when Patrick was at least one year
of age. Carol was gone often for days and up to two weeks at a time. She abandoned Patrick all
the time during the first five years of his life and about a third of the time Carol would leave Patrick
at Linda's parent's house. Carol would not buy food for Patrick and would not call and check on
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him while she was gone but rather would rely on family members to take care of him. Linda also
noted that Carol started using drugs and alcohol after Patrick was born. When she would leave him
at her Linda's parents’ house, she would return hyper and like she had been using drugs.

During the current evaluation, Mr. Murphy described a history of family instability and transiency.
He stated that the family also moved a number of times. He reported that his mother moved his
family about seven times up to the third grade. He recalled most of the moves had to do with the
mother being involved with different men. He recalled he was born in the projects in west Dallas.
The family lived in different houses and apartments over the years. Other mitigating notes
indicated that Mr. Murphy lived in Dallas from age’s birth to eight and then Denton, Texas from
eight to about nine. He lived in California in San Bernadino for about nine months up to about age
10. He returned to Texas and lived in Krum for about two or three months and then Dallas up to
age 11 for another two years. He lived in Green River, Wyoming from 11 to 12 for about eight
months and then returned to Texas and lived in Irving, Texas from 12 to 16. He then lived in
Rockdale, Texas for about eight months and then back to Dallas for about one year. He then lived
in Hemet, California for about one month and then Rockdale, Texas for about one year up to age
18. He lived in Dallas from 18 to 21 and then Fort Campbell, Kentucky when he was in the Army
from 21 to 22 and then returned to Dallas for about three months at age 22.

Mr. Murphy commented that the family actually moved to California when he was about nine years
of age. He said at that time his mother got heavily into alcohol and drugs. He said he was not
aware of her prior substance usage history. He commented that he was even aware of her substance
abuse before their move to California. He recalled staying with family members in California.
They lived in San Bernadino County in a "welfare house." They lived there for about a year. He
said that his mother did not work but they received welfare and she would often go out and use
alcohol and drugs. He said that she often used the neighbor kid to watch the three children. He
said that she would often return home and appear intoxicated and drunk. He stated that his mother
was abusive and had abusive boyfriends who came around and they would often smacked him
around. He was never sexually assaulted by these boyfriends.

Linda added that early on in Mr. Murphy's life, Carol and Patrick Sr. were married for about a year
and a half. After they divorced, Patrick would visit his father for visitation. On one occasion,
Patrick Sr. then returned Patrick after the weekend and Linda went with Carol to the court to get
Patrick back. The father and mother brought Patrick in with diaper pins stuck through his skin.
His diaper was filthy and he had messed in one and he also had marks on his body that looked like
somebody had put a cigarette out on him. His bottle had sour milk in it and Patrick did not go to
visitation with his father anymore and did not see his father again until he was about age nine.
Linda also stated that Carol did not want to be tied down with Patrick or her other children and she
found a man that she would let her move in with. She would leave Patrick with different family
members including their parents and over the times she would leave her children with a
neighborhood kid. These occurrences were often when Patrick was 1-8 years of age.

Linda noted that Carol eventually had a baby named Allen Ray Skinner. She was aware that when
Carol came home from the hospital after having Allen, the father (Ray) raped and had forced sex on
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Carol and she hemorrhaged and went back to the hospital. She eventually had a nervous breakdown
that lasted for a couple of weeks and she returned home with the prescription Valium. Linda stated
that Carol had gone to a doctor who gave her prescriptions and she was drinking alcohol and
abusing alcohol and drugs. She became a dysfunctional parent and would leave Allen for stretches
at a time and would yell at Patrick and pull his hair.

Linda added that Carol was often involved with men and that she met a man named Leslie Green.
He would offer a place to stay with her family if she had another man. However, he was a child
molester and Carol was aware of that but she still let him live with her children. Linda Goodman
was consistent with Mr. Murphy's report that she would visit the house and Leslie would be naked,
answer the door naked and was often in a disrobed state. She noted that Leslie Green was actually
sterile and could not be a father and so Linda had no idea who the fathers were of her two other
children. Linda added that another man who Carol shacked up with was Jerry Wright, who was a
soldier in Oklahoma, who she described as mentally unstable and once sent Allen to school in a
dress. She also was with a man named Guy Jones, who kicked Carol out at gun point.

Linda acknowledged that Carol took the children to California and she was there for under a year
and eventually returned home to Texas. Linda noted that over time, Patrick became uncontrollable
behavior. Linda suggested individual therapy counseling for Patrick but his mother did not agree
and refused to get him help. The family and children were neglected relevant to medical care.

Mr. Murphy reported during the current evaluation a lack of medical care by his mother. His
brother, Allen had been diagnosed with spinal meningitis. Linda had noted that Carol had
developed an addiction to drugs and alcohol and that Linda had her committed on more than one
occasion to a hospital. Once an ambulance came to get her to take her for psychiatric admission
and on the way to the hospital, the ambulance driver stopped and kicked Carol out of the ambulance
because she was uncontrollable. She noted that when Sandra was born, Carol may have been
intoxicated. Sandra was born in 1976, 10 weeks premature and had serious birth defects, she was
deaf, she had Down's syndrome, was mentally retarded, and had surgery on the bones in her face and
jaw because of birth defects. Linda noted that when Sandra was a few months old, Carol hit her in
the head with a hammer and that Linda had to take her to the emergency room and Carol stated she
hit her because she did not want to deal with Sandra. Mr. Murphy noted that his sister, Sandra was
born and was mentally retarded and had some other medical problems that were likely due to his
mother’s substance abuse during pregnancy. He stated that he was aware that Sandra eventually
lived with their aunt, Linda, and that Linda eventually became her mother.

Linda had noted in her affidavit, which was consistent with Mr. Murphy's current interview, that Mr.
Murphy went to live with his father around age 10 and Linda said that she had not seen Patrick
again until he was about 17 years of age. She also said that Carol never went to see Patrick during
those years. Linda also noted that again, Carol had a serious history of drug and alcohol abuse and
associated with horrible men. Linda also sued for custody of Allen, Sheryl and Sandra and the
children were much happier and stable with her than with Carol. Mr. Murphy noted that he was
very concerned as a child that his mother would take the children away to a place in California again
and disappear. Linda reported that when Sheryl was a teenager, Carol would bring drugs by the
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house which Sheryl would take. These were tranquilizers and pain pills and Carol developed a
substance abuse problem. Sheryl would run away sometimes and get drugs. Linda had a
restraining order on Carol to keep her away from the home and the children. Linda noted,
consistent with Mr. Murphy's report, that Allen, Sheryl and Sandra saw a lot of physical violence
and sex/sexual abuse in Carol's care.

Patrick Murphy, Sr. also had an affidavit. He had stated that he was married to Carol, eventually
divorced and Patrick Jr. stayed with his mother. He described Carol as not being a good wife or
mother and that she did not want to be tied down and she did not want responsibility of taking care
of her son. He believed it was a mistake for Patrick to ever live with his mother. He saw Patrick
occasionally when he was young and then his son eventually lived with his father at age 10. He
said that Patrick and his mother moved around constantly during the early years and there were
always men in and out of her life. He also spent a lot of time with his maternal grandmother when
he was living with Carol. His grandmother verbally abused and whipped Patrick and she taught
him how to shoplift from an early age.

Patrick, Sr. had stated in his affidavit that Carol eventually said that she could not take care of
Patrick any longer because she could not handle him any longer because of his behaviors. Carol
called Patrick Sr. and told him that she could not find Patrick and he said that the family went to
look for him. Patrick, Sr. stated that they found Patrick in an abandoned school bus, he was filthy,
had ringworms in his hair and a skin infection and had sores on his arms and legs. He noted that
Patrick clung onto him and was very scared. Currently, Mr. Murphy had stated that he recalled the
incident in which his father came and found him. He again had noted that he was afraid to go home
after he stole money from his aunt. He lived "out in the wild and I was running through the woods
and staying with friends and in a school bus and that's why I had sores all over my legs and
ringworm."

Patrick, Sr. had also stated in his affidavit that when Patrick went to live with him, Patrick, Sr. had
already married a woman named Patricia. He stated that she was really strict with Patrick and did
her best to provide him with a loving home, but he said that Patrick was already ruined from living
with his mother. Patrick was described as clearly having severe emotional and behavioral problems
at this time. He would constantly lie and steal and he had not learned anything about right from
wrong by living with his mother. Patrick Sr. also had described that he was not often at home
because he was a truck driver. He also said that while Patrick was living in the house he became
aware of his son using drugs. He got into fights all the time and was kicked out of his high school
and JROTC program for fighting with a person. He also was skipping school, was arrested for
stealing and was eventually incarcerated. Patrick ran away and was in a homeless shelter in a
church in Dallas.

Mr. Murphy's brother, Allen Ray Skinner, was also able to provide an affidavit that was reviewed by
this examiner. Mr. Skinner had stated that he is four years younger than his older brother, Patrick,
Jr. He recalled when living with his mother that she was always bringing different men to live with
them and there were always men in and out of the house. He perceived his mother was resenting
her children because she was not able to live her own life. He recalled that he was placed into
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custody with his aunt, Linda Goodman, when he was about 14 years of age. Mr. Skinner did not
know who his biological father was until he was about 15 years of age. He recalled that Leslie
Green, who lived with his mother, was a convicted child molester. He said that Leslie would walk
around the house dressed in fishnet underwear which made Allen feel very uncomfortable. He
also reported another man that she was involved with, named Jerry Wright who was abusive to him
and treated Allen like a girl and was verbally cruel. He recalled his mother drinking frequently
when Mr. Skinner was a teenager. He said that his brother Patrick eventually lived with his father
and that Mr. Skinner did not see him again until he was about 13 years of age. He noted that
Patrick was eventually living in a half-way house and Mr. Skinner left his own aunt's house to get
closer to Patrick and he lived there with them. He said that a number of men at the half-way house
forced themselves on Mr. Skinner.

There was also an affidavit by Mr. Murphy's sister, Kristina Murphy Rogers. She is a younger
half-sibling of Mr. Murphy. She recalled that the mother would discipline Patrick generally with a
belt. She said that Patrick was clearly messed and had serious problems long before he moved in
with them. Patrick would often run away from home.

During the evaluation, Mr. Murphy had also expressed not only being a victim of sexual abuse but
that he did perpetrate against his sister when he was about 14 and she was about five. He said his
sister, Kristina was a victim of sexual abuse by him. He stated that he was very rebellious and had
just been released from juvenile detention for car theft. He reported being very frustrated and
sexually frustrated at that, and noted that he had early sexual experiences during his childhood and
adolescence prior to being placed in the detention center. He also experienced sexual confusion and
also wanted to experience sexual stimulation as he felt somewhat oversexed and again wanted a
sexual experience and release in part to deal with his inner turmoil and anger. He said that he made
his sister give him oral sex for stimulation and he would rub on his sister's vaginal area with
Vaseline until ejaculation, but he did not penetrate her vaginally or anally. He reported this sexual
abuse occurred several times. His sister eventually developed a vaginal rash and his parents asked
questions and she reluctantly told her parents what had happened. They had confronted him about
this and there were no authorities involved and he was never charged. He reported the abuse
stopped for several months but then again recurred and he continued to molest her. He again denied
every sexually penetrating her. He said he eventually had a car accident and ran away from home
and stayed away from the home.

Mr. Murphy also acknowledged having sexual relations that was consensual with his sister, Sheryl.
He was 21 and she was 14. He said they had vaginal, oral and anal sex over a period of several
months. He denied there were any physical assaults or threat and that she consented but she was
obviously under age.

Developmentally, Mr. Murphy denied his mother used alcohol, drugs or cigarettes during pregnancy
with him. His mother did not smoke. He denied any developmental delays. He was never
diagnosed with Attention Deficit/Hyperactivity Disorder or Learning Disorder. He had no
childhood medical problems and denied impairments with language, speech or vision. He did
acknowledge symptoms related to Conduct Disorder, which would have been running away, stealing
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money from family members, failing to attend school and truancy, some fighting, car theft, and other
antisocial behaviors, some which would be related to his dysfunctional childhood and history of
abuse and neglect.

ACADEMIC HISTORY:

Mr. Murphy reported attending a number of schools and there was significant school transiency in
much part because of his at home transiency. He reported attending a private school in first grade
and then was in a public school in west Dallas. He attended another public school in the third grade
in Denton and then a public school in California in the fourth grade. He then attended a public
school in fifth grade and was living with his father and then was in Wyoming at age 11 and attended
another public school there. He attended seventh through ninth grades in Irving, Texas and then
tenth grade in Irving, Texas and Rockdale. He completed the ninth grade. He was not involved
with sports. He was not in special education and denied failing any grades but was held back in
ninth grade because he was not attending school regularly. He reported no history of learning
disabilities and he did not have significant problems with comprehension or learning how to read.
He said his grades were minimal and fair to poor up to about the sixth grade but then he performed
better in seventh grade and beyond.
Mr. Murphy obtained his GED in the Army.

MILITARY HISTORY:

Mr. Murphy enlisted in the U.S. Army in 1982 at age 21. He performed basic training at Fort
Benning in Georgia and specialized in infantry training. He was then stationed at Fort Campbell,
Kentucky and served one year there. He went AWOL and was eventually discharged. He
described himself as a "decent solider but the military was not for me."

U.S. Army records indicated that Mr. Murphy enlisted October 12, 1982 and he had a total credible
service time of one year, five days. Educational level was 14 years of age. Reason for AWOL was
for personal reasons and he had become disillusioned with the military and rehabilitation efforts
were concerned futile.

EMPLOYMENT HISTORY:

After the Army, Mr. Murphy reported working at Jay Electric and he also worked at Brown and
Root, Inc. and other jobs. He also worked at another job in the oil fields. His longest job was with
Jay Electric and he worked as an electrician helper and then he made it to electrician status.

RELATIONSHIP HISTORY:

Mr. Murphy has been married three times, including twice in the community and once in prison.
He has one child, Patrick, III who is approximately 32 years old.



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MEDICAL HISTORY:

Mr. Murphy reported a history of high blood pressure since being incarcerated. He also reported no
history of seizures or head injury.

MENTAL HEALTH HISTORY:

Mr. Murphy denied a history of inpatient psychiatric treatment. He denied a history of counseling
as a child or adolescent. Mr. Murphy had stated that he did run away frequently as a youth,
whether he was in California or Texas. When he was in California for several months, he did run
away and was eventually detected and apprehended and then detained and he was involved with
counseling at the county juvenile facility. He reported that he participated in counseling through
TDCJ as an adult for his first rape conviction. He noted a history of symptoms related to trauma
and PTSD. He stated that his most traumatic events included perpetration of sexual, physical and
emotional abuse to him by step-father figures including Ray and Leslie. These traumatic
experiences commenced at age four for him.

Mr. Murphy had been evaluated by Dr. Mark Vigen through his mitigation and sentencing. He
noted an IQ test for Mr. Murphy which was 108. There was apparently an MRI brain scan prior to
the trial (I could not find evidence of brain scan results). Mr. Murphy was diagnosed by Dr. Vigen
with a Sexual Disorder Not Otherwise Specified as well as Personality Disorder with antisocial
borderline and narcissistic traits.

Mr. Murphy was evaluated by Dr. Laceritz on 11/04/2003 for a pretrial neuropsychological
evaluation. At that time he denied any specific cognitive problems. Neurocognitive risk factors
included history of alcohol abuse over the years such as prolonged binge drinking, episodic use of
drugs including marijuana, cocaine and amphetamines. He had several concussions associated with
fights while in school and prison (he denied head injuries during the current evaluation). At least
three of these blows to the head involved brief losses of consciousness but he denied subsequent
neurological or neuropsychological deficits. He described a history of physical abuse from his
step-father that involved slapping and kicking and he denied any concussions of loss of
consciousness from this as a result. He had a medical history positive for TB but he was
asymptomatic and had undergone preventative treatment for 12 months on two separate occasions.
He dropped out of school in tenth grade and later completed his GED while in military. He took a
number of college courses while in prison. His developmental history was unremarkable. His
intelligence was in the average range. Non-verbal abstract reasoning and problem solving on the
Wisconsin Card Sort Test included six categories which was average. There was some impulsivity
on that test. Visual motor was low average to average. Expressive vocabulary skills were average
and verbal fluency for letters was below average. Category fluency was average. Sustained
attention was average for speed and above average for accuracy. Memory and learning for word
list information was average. He performed in the average range or better across most
neuropsychological tests administered.



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LEGAL HISTORY:

Mr. Murphy has a history of juvenile criminal offenses. He has been charged with car theft
including all four counts and was given one year of juvenile probation. He was involved with
runaway behaviors in California and was placed in juvenile detention for about two months. He
also was charged with running away in Texas as well.

As an adult, he was charged with a rape offense. He left the Army and not long after he was arrested
for burglary with his brother and received five years’ probation. Within several days of him
completing probation, he was incarcerated in jail for the burglary charge for about one month and
then within several days of being released from jail, he was then arrested for aggravated sexual
assault, which was the offense that brought him to TDCJ. He was convicted in a jury trial and was
sentenced to 50 years in prison. He then escaped with six other inmates from TDCJ in the year
2000 and during their AWOL and escape, there was a murder of one police officer. During the
current evaluation, Mr. Murphy did admit and take responsibility for his sex offense case. He said
he knew the victim (Jennifer) and that they had a friendship and had gone out and dated as
teenagers. At this time he was 21 and she was about 20 years of age. He did acknowledge raping
the female.

CURRENT PSYCHOLOGICAL TESTING RESULTS:

Mr. Murphy was administered the Detailed Assessment of Post-traumatic Stress to assess for current
and historical symptoms of PTSD. This is a self-report measure of PTSD. Results indicate clear
evidence of PTSD. He reported eight types of prior traumatic events and therefore relative trauma
exposure was clinically significant. He reported having a history of car accidents; suffering an
accident at work or home; someone hitting, choking or beating him when he was seriously hurt or
afraid he would be hurt at any time in his life; someone threatening to injure him or do something
sexual to him against his will, although they did not actually do anything to him but he was afraid he
would be hurt or killed; someone doing something sexual to him against his will such as a sexual
assault and making him do something sexual to cause him to be seriously afraid he would be hurt or
killed; someone doing something sexual against his will or making him do something sexual before
he was 16 years of age; seeing someone else get seriously hurt or killed; and having an adult beat
him in some physical way to hurt him enough that he had scratches, bruises or cuts or some injury
before he was 16 years of age. These would also be consistent with polytrauma and complex
trauma.

Most clinical scales were in the clinically significant range. He again had a number of traumas and
the more traumatic experience one has, the more risk the individual has for a negative outcome
including significant psychological and emotional symptoms. Mr. Murphy stated that the most
significant trauma (index trauma) would be his sexual abuse from ages four to about ten by his
step-father, Ray. He reported peritraumatic distress and he experienced more psychological distress
during the index trauma than the average individual. Mr. Murphy reported feeling fear,
helplessness, horror, guilt, shame or humiliation, and disgust during the sexual abuse experiences.
He reported at the time of trauma and being sexually abused that his mind went blank and he felt
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spaced out, unreal and strange, his body felt strange or seemed to change and time seemed to slow
down or speed up.

He reported significant intrusive experiences and dreams of traumatic events as well as
psychological distress and reactivity when exposed to the traumatic reminiscent events. He reported
evidence of avoidance and he often has conscious or subconscious attempts to avoid people in basic
conversations and situations that might trigger the flashbacks or intrusive symptoms. He indicated
that he often would not want to talk about his prior traumatic experiences. He had difficulties
remembering significant parts of the traumatic experiences. He also felt less connected to other
individuals and attempted to stay away from people or places that reminded him of the apparent
trauma.

There was evidence of hyperarousal and hyperactivity of these symptoms with the central nervous
system as he feels jumpy, on edge, somewhat hypervigelant and suspicious of his surroundings. At
times he has difficulty attending and concentrating.

There is significant evidence of post-traumatic impairment in that he experiences distress and
psychological and emotional dysfunction due to these symptoms of PTSD. He also reported
significant substance abuse problems to the level of substance dependence. He denied evidence of
suicidality.

CURRENT DSM 5 DIAGNOSTIC FORMULATION:

1.   Posttraumatic Stress Disorder.
2.   Alcohol Use Disorder.
3.   Antisocial Personality Disorder with Borderline traits.

FORENSIC OPINION:

Jeffrey Newberry, attorney at law, referred me to examine his federal habeas client, Mr. Patrick
Murphy for a forensic psychological evaluation, focusing on his history of trauma and traumatic
stress.

Complex Trauma and PTSD

Mr. Newberry has a significant history of complex trauma, PTSD, and disorganized attachment.
He has suffered severe psychological and emotional injury that involves extensive, prolonged, and
variable/diverse exposure to trauma. Complex trauma involves complex and reciprocal interactions
between a number of biopsychosocial symptoms. Mr. Murphy experienced repeated traumatization
during childhood leading to attachment problems and difficulty with relationship boundaries, sexual
promiscuity, lack of emotional intimacy with women, lack of trust and social isolation, difficulty
perceiving or responding to other's emotional states, sexually aggressive acts, and poor empathy for
others.

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Mr. Murphy's psychological and emotional traumas were extensive and diverse in nature. As noted,
he reported a history that his mother and father were never married consistently. He lived with his
biological mother for a number of years and then with his father. He lacked significant attachment
between he and his mother and he and his father. Mr. Murphy's mother had significant substance
abuse issues and was markedly neglectful towards her children, who she ultimately could not raise.
He experienced sexual abuse by his step-father, Ray, who molested him for a number of years,
beginning around age four. He stated that Ray also physically abused his mother. Mr. Murphy
stated his mother was also physically abused by another step-father figure named Leslie. He
reported witnessing physical violence by Leslie towards his mother and he reported Leslie would
expose himself and walk around the home naked. He also added that he witnessed early physical
violence and abuse towards his mother by his father. Mr. Murphy also stated he was sexually
abused by his Uncle Arthur and this eventually led to consensual sexual encounters. Mr. Murphy
reported significant physical and emotional abuse by his mother in which there were frequent
beatings. He also witnessed his biological mother be sexually assaulted and raped by a stranger,
African-American male when he was a youth. He was sexually abused by his mother.

Common in complex trauma cases is a lack of attachment or damaged attachment between child and
parent or parents. Mr. Murphy had significant poor attachment issues with both parents. After his
parents separated when he was about two years of age, he had little if any contact with his biological
father for years. His mother, again was very neglectful and there were deficits regarding bonding
and attachment relevant to proper affection, interaction, communication between mother and child.
Mr. Murphy felt rejected by his mother and he did report significant abuse by her. This history of
attachment failure puts a youth at risk for developmental failure especially relevant to interpersonal
and intimate relationships with others. Mr. Murphy's mother became pregnant again after her birth
with Patrick and apparently the father slapped her and physically abused her until she miscarried.
The records indicate that there was a hostile separation divorce between Mr. Murphy's parents and
the mother eventually had to obtain a restraining order against the father and subsequently Mr.
Murphy never had much contact with his father.

As noted, the records indicate that the mother had a number of relationships with men who she
brought in and out of the home. The records and affidavits suggest that the mother was very
careless and reckless with men, bringing them in and out of the home. Mr. Murphy denied his
mother prostituting herself, yet he did report that these men came in the home and would often have
sex with her and would physically abuse and slap and punch him and were, as he said, very mean to
the children. He also witnessed step-father figures, such as Leslie, have sex with and rape his
mother in front of him numerous times.

There was other evidence that Mr. Murphy's mother was drinking during her pregnancy with her son
Allen and was intoxicated during labor. Upon arriving home after delivering the baby, her husband
at the time, Ray, demanded sex and she eventually was hemorrhaging and suffered a nervous
breakdown and was hospitalized. Mr. Murphy’s mother was eventually prescribed Valium and
began abusing this substance and also was abusing alcohol.
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The records and information consistently indicate that the mother was very neglectful of her children
and did not respond to their emotional and physical needs. The mother cared more about herself
and was very self-centered and self-interested and often did not bother to bring clothes or food home
for the children and would spend her welfare dole on her own alcohol addiction.

As noted, Mr. Murphy's mother brought so many men home who were sexually inappropriate and
either physically or sexually abused his mother or did the same to him. His male role models
include his mother's boyfriends and relatives who were sexually deviant. His mother also initiated
deviant sexual behavior with Patrick, as he reported that she sexually abused him and would sleep
with him in the bed and they engaged in mutual sexual touching and oral sex. In addition to sexual
abuse by his mother, again, Mr. Murphy had reported sexual abuse by his Uncle Arthur when he
was about 14 years of age. There was sexual fondling and anal sex and then Mr. Murphy acted out
against him and threatened to kill him with a knife. During this adolescent period, Mr. Murphy
also lived with his biological father. At this time he was also becoming very confused about sexual
identify and began acting out sexually as a perpetrator against his sister to a large extent. He
struggled with his sexual identify and eventually was engaging in homosexual behaviors with a man
named Mr. Ballinger. Mr. Murphy described himself as running wild and having sex and using
drugs. Many of his antisocial behaviors were due to survival skills and coping with all the chaos in
his life as he would run away to get away from his biological mother and father.

Mr. Murphy had a number of sexual abuse experiences as noted and he was unable in late
adolescence and early adulthood to have a normal marital or intimate relationship with a woman. He
had poorly developed intimacy skills and was emotionally disassociated, isolated, distant, and aloof
with women. He equated sex with love and never had any intimate solid connections with early
parental caregivers and had no developmental lens to do the same in future relationships.

This case presents with a rather noteworthy history of physical, emotional and sexual abuse and is
consistent with a number of capital murder cases I have examined in the past. Mr. Murphy’s sexual
abuse began at around age four by his step-father, Ray. Ray was clearly a sexual deviant and raped
Patrick's mother when she arrived home from the hospital after delivering her second baby, resulting
in hemorrhaging and a two-week hospitalization. She then was involved with a man named Leslie
Green between marriages or boyfriends and he was a known child molester. He was physically and
sexually assaultive to Mr. Murphy's mother in front of him and physically assaulted Mr. Murphy.
Mr. Murphy claimed no sexual abuse by Leslie. At the age of nine, his mother made him sleep with
her and she fondled him and performed oral sex on him and he was made to perform oral sex on her
and she made an attempt at vaginal sex with him. She continued to bring home sexually deviant
and physically assaultive men. He recalled he had been traveling to California with her and she
continued to receive welfare and would leave the children at home while she went out, got drunk at
bars and brought home men. Mr. Murphy again reported sexual abuse by his Uncle Arthur and he
consented out of curiosity early on and was performing oral sex with another Uncle Glen (noted in
the records). By around age 14, Mr. Murphy was very sexually active. He said he was very
confused and curious which ultimately led to his sexual abuse of his sister.
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Along this line, Mr. Murphy reported a history of hypersexuality and engagement in sexual relations
with a number of different females, at least 30 of them in total with many sexual relations with
prostitutes. The records also indicate that Mr. Murphy reported playing strip poker and
occasionally fondling his 13-year-old baby sitter and he was exposed early to not only sex but
alcohol and drugs. Mr. Murphy developed a significant alcohol and drug addiction. By around
age 16 he was engaged with another sexual relation with a man named, Don Ballinger, who was in
his 30s and was married and had children. Mr. Murphy again stated that he was very confused
about his sexual identify. He had a homosexual relationship with Mr. Ballinger which he said was
consensual. He said that Mr. Ballinger was very nice to him and Mr. Murphy was very vulnerable
at the time and was homeless and lived in a shelter, named the House of Abel. During the time at
this House of Abel, he shared the homosexual relationship with Don Ballinger and he also had sex
relations with other females who he dated or was involved with.

Mr. Murphy also again was exposed to alcohol and drugs and later on developed a history of alcohol
addiction. He reported having problems controlling his use over time. He spent a lot of time and
money with his use and would use alcohol and other drugs to numb himself from his emotional pain
and also to avoid dealing with his problems. He drank socially and often by himself. He developed
tolerance to alcohol. He again reported alcohol negatively affected his life and he stated he never
appropriately dealt with any of his emotions. He was very avoidant. He would be categorized as a
dual diagnosed individual, mentally ill substance abuser, with a history of PTSD and substance
dependence. He also reported using cocaine, not to the extent of alcohol, but he used this substance
as a way to pick him up from the depression of alcohol and keep him stimulated and hyper.

Mr. Murphy again reports a significant history of trauma that would be consistent with PTSD, as he
witnessed and experienced significant psychological, physical and emotional trauma, as noted
above. He not only experienced these traumatic events, but also witnessed them especially to his
mother. In addition to the number of traumatic events, he also reported recurrent memories and
intrusive memories, distressing memories of traumatic events, more so as a youth, leading up to his
first arrest and these traumatic memories have somewhat lessened over time. He reported intense
psychological distress when exposed to different cues that may have resembled the traumatic events.
He reported significant evidence of the avoidance prong of PTSD. There is evidence of persistent
avoidance and avoidance of efforts to deal with distressing memories or thoughts or feelings
associated with traumatic events. He often used substances to deal with these traumatic events and
would avoid these feelings through use of alcohol and cocaine. He reported avoidance of external
reminders of people, places or situations that arouse distressing memories of the traumatic events.
He reported negative alteration in cognition in thoughts and moods associated with the traumatic
events. Mr. Murphy did not remember all of the important aspects of the traumatic events which is
typical in those who have PTSD. He also reported some evidence of low self-esteem and persistent
and exaggerated negative beliefs of himself of the world. He did not trust other individuals,
especially due to the negative relationships and experiences he had with his mother and other
caregivers. He reported feeling fear, horror, anger, guilt or shame often, especially during the
sexual and physical abuse experiences. He reported having significant deficits in emotional
relationships with others and he would isolate himself and display a diminished interest in relations
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with others and he would detach or estrange himself from them. He had problems experiencing
positive emotions such as happiness or loving feelings towards others and he would isolate himself
and was very detached and withdrawn from relationships. Mr. Murphy's damaged relationship with
his mother and other father figures caused him to look at the world in a very negative light. Mr.
Murphy had evidence of changes in arousal and reactivity during and following traumatic events.
He experienced irritable behavior, angry outbursts, recklessness, self-destructive behavior, which
obviously would be evident concerning his history of substance abuse and sexual promiscuity. He
reported evidence of hypervigilance, problems with concentration and sleep disturbances at times.
During the current evaluation, Mr. Murphy did report current symptoms of PTSD, but he did state
that they have dissipated over time and common amongst individuals with PTSD, he likely
experienced more heightened symptoms of PTSD closer in time to the traumatic experiences. As
noted, Mr. Murphy was not exposed to physical and psychological trauma in over 30 years and his
incarcerated state has had a numbing effect on his emotional functioning. Further, since he is
incarcerated, he is unable to be exposed to specific aspects of his prior traumatic experiences.

Mr. Murphy's history and development also led to evidence of antisocial and borderline personality
traits, which are common, especially in families such as this. Mr. Murphy again had a history of
physical, sexual and emotional abuse, lack of attachment to either parent, and continued abuse and
neglect during his childhood. Eventually, he started running away and was reckless, had a poor
value system and no good values ingrained by the parenting he was exposed to.

Mr. Murphy learned to deal with stresses by a flight response and he would always run away when
situations became difficult for him. He reportedly ran away from home as a child and ran away as
an adolescent when he made bad decisions and he was fearful of getting in trouble. Mr. Murphy
also had tendency to self-medicate and he began experiencing a dual diagnosis condition even as
early as 12-13 where he had definite symptoms of PTSD and substance abuse. Mr. Murphy had
very poor sexual boundaries as a youth and was "over sexed" and became hypersexual regarding
desiring love and emotional connection through sex. He began following the behaviors that were
taught to him in a social learning type fashion in which he became a sexual perpetrator towards his
sister after he had been sexually abused over the years by a number of individuals. Mr. Murphy
developed dysfunctional coping mechanisms and survived his abuse and dysfunctional childhood
and again engaged in severe substance abuse issues and inappropriate sexual relationships. He was
in a very confused sexual state with a lack of proper role models to demonstrate proper healthy
interpersonal relationships with others. Mr. Murphy noted by TDCJ records to have significant
mental health conditions that caused low impulse control, loss of memory and dissociative episodes.

When summarizing this case, Mr. Murphy suffered the following sources of trauma:

1.   Severe neglect and physical, emotional as well as sexual abuse by his mother.
2.   Years of neglect by his biological father in which he went long periods of time without seeing
     him. Reported physical abuse by his father.
3.   Witnessing and experiencing sexual and physical abuse by his step-father, Leslie.
4.   Witnessing physical abuse towards his mother and experiencing sexual abuse by his step-father,
     Ray.
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5.   Experiencing sexual abuse by his Uncle Arthur and possibly by his Uncle Glen.
6.   Witnessing his mother being raped by an adult stranger, African-American male.
7.   Being physically and emotionally abused by a number of boyfriend type figures who came in
     and out of the home through his mother's escapades and promiscuity.
8.   Being sexually abused by his minister/friend, Don Ballinger.

It is my opinion with a reasonable degree of psychological certainty that Mr. Murphy does have a
history of complex trauma and PTSD. Notable again, is the history of the number of types of
relative trauma exposures and traumas that he has experienced at an early age and the early
initiation, diverse nature of the traumas and the frequency and severity of the traumas experienced,
which makes this a definite complex trauma PTSD case.

My concerns again include the early initiation of trauma, persistence of exposure to the traumatic
experiences, including physical, emotional and sexual abuse, the severities of the trauma and the
chronicities of the trauma over time. Complex PTSD includes the interactions between a number of
biopsychosocial symptoms and the repeated traumatization during childhood which is present in this
case. Complex trauma leads to symptoms related to damaged attachment, poor relationships and
evidence in this case of use of prostitutes and a prior rape sex offense conviction, as well as a lack of
trust in others and social isolation and finally difficulty perceiving or responding to other's emotional
states and lack and empathy for others. Mr. Murphy's rape offense is clearly related to his prior
sexual, physical and emotional abuse experiences. This individual was extremely over-sexed and
hypersexual as a youth and young man. He witnessed that it was okay and socially appropriate to
physically and sexually assault a woman to gratify one's own sexual needs. He had very poor
boundaries with women and had no intimate sexual relationships with other females. He witnessed
men taking advantage of his mother and physically and sexually assault her in front of him.

Complex PTSD within an individual will affect one’s emotional regulation and will lead to
difficulties in identifying and expressing emotions and internal states, communicating needs with
relationships, and responding to emotionally charged situations appropriately. Mr. Murphy again
had very damaged relationships with his mother that were oversexed and included significant sexual
and physical violence and rejection. Mr. Murphy's history of complex PTSD placed him at more
risk for behavioral problems, impulsivity, and cognitive difficulties as well as deficits in empathy,
low self-esteem and problems understanding his cognitions, emotions and behaviors.

Mr. Murphy was at significant risk for early developmental psychopathology, such as problems with
conduct and behavior. Developmental psychopathology encompasses different processes and events
or conditions that increases the probability that a child will remain on a maladaptive developmental
path. Mr. Murphy again experienced early intense and severe sources of trauma with the absence of
protective factors to facilitate healthy psychological and emotional development. Early exposure to
developmental hazards such as in this case increase the probability of developing mental disorders
such as PTSD and substance abuse and engaging in destructive and maladaptive behaviors such as
promiscuity and sexual offending that are present in this case.



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Disorganized Attachment

Mr. Murphy again experienced significant attachment deficits in this case. Attachment is the
emotional bond that develops between an infant/child and the caregiver and the behavioral system
that evolves as a result. Mr. Murphy was a dependent child who witnessed significant physical and
sexual assaults towards his mother and eventually experienced these same types of tragic human
events. He developed a very insecure attachment to both parents and insecure attachments predict
relationship and behavioral difficulties with deficits in empathy and social competence which are
present in this case. Insecure attachment leads to aggressive hostile behaviors as well as depression
and poor peer relations and low esteem in offspring which are all consistent in this case. The
attachment is reflected in the child's ability to learn to regulate their behavior by anticipating their
caregiver's responses to them. As noted, Mr. Murphy only experienced significant physical,
emotional and sexual trauma early on and these interactions constructed a dysfunctional internal
working model of relationships for him. His biological mother was emotionally absent,
inconsistent, frustrating, violent, intrusive and neglectful towards him which caused him a great deal
of internal and emotional distress. As noted, his biological father was not present for a number of
years of his life. Mr. Murphy eventually lived with his father and he reported physical abuse by his
father. His early childhood was described as chaotic with no sense of control and stability and he
was eventually very helpless. He had basically no solid developmental bond to any caretaker. As
noted, early attachment relations function as a filter to which all future interpersonal interactions are
interpreted. He interpreted future interactions as being chaotic and physically and sexually violent
in nature.

Disturbed early attachments are a marker beginning a pathological process that problematically
leads to later pathology which is present in this case. He viewed early relationships with his wife as
alien, chaotic and hostile. Early insecure attachments present in this case are associated with a high
risk of developmental psychopathology and severe disturbances in social relatedness which are again
present in this case.

There is significant evidence of disorganized attachment in this case which involves a lack of or a
collapse of a consistent strategy of organizing responses to the need for comfort and security when
under stress, and has been observed in the relational behaviors with children from extremely chaotic
abuse or neglectful experiences. Essentially, disorganized attachment behaviors are thought to be
elicited when actions of the parent become frightening and/or threatening or when the parent is
perceived as being frightened, thus creating a conflict that creates an unresolvable conflict for the
child in which the parent is thought and perceived to be a source of stress and comfort at the same
time. Mr. Murphy often had witnessed his mother in a frightened and terrorized state when she was
being physically or sexually assaulted. Mental illness, substance use, extreme stress, grief,
emotional, physical, or sexual abuse on the part of the parent are all implicated in disorganized
attachment experiences present in this case. Mr. Murphy's early attachments were very chaotic and
had an emphasis of sexual abuse, physical abuse and control.




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There are also a number of developmental antecedents that are common among sex offenders present
in this case. Mr. Murphy had a history of disorganized attachment with his primary caregivers.
Significant developmental antecedents for sexual abuse include a history of poor parental child
attachment bonds, low self-esteem, poor quality of relationships, inadequate emotional coping skills
and prior sexual abuse. These problems led to a primary reliance on sexualized coping including
hypersexuality, use of prostitutes and use of substances, for example. As noted, Mr. Murphy had
little if any attachment and bonding with his mother and she was very abusive which led to an early
dysfunctional internal working model of relationships as sexual and threatening as well as
comforting and stimulating. Mr. Murphy’s most significant and formative emotional bond with a
human being was with his mother, who physically abused him, neglected him, exposed him to
further physical, sexual, and emotional abuse, and also sexually abused and molested him. Mr.
Murphy experienced a damaged and disorganized attachment to his mother who expressed her love
through sex and who also physically abused him causing a great internal conflict. Mr. Murphy's
early childhood life included a family environment characterized by violence, substance abuse and
sexual abuse as well as interpersonal turmoil.

It is my opinion with a reasonable degree of psychological certainty that Mr. Murphy has a history
of complex trauma and PTSD. He was never evaluated for these conditions as a child or
adolescent. There were a number of childhood risk factors littered throughout this report that
would lead to developmental psychopathology and negative outcome. Of note, is his significant
history of disorganized attachment, especially between Mr. Murphy and his mother. There was a
history of chronic physical, sexual and emotional abuse by the mother. He also was sexually and
physically abused by a number of individuals in his life and was at risk for sexual perpetration of
others due to these early, severe, intense, and varied sexual abuse experiences. Mr. Murphy
witnessed severe sexual and physical abuse towards his mother by a number of different men. His
damaged and disorganized attachment in childhood is consistent with sex offenders and left him at
risk to continue experiencing negative and poorly attached relationships with others. He
experienced insecure childhood attachment which resulted in later deficits in interpersonal skills,
self-confidence, empathy for others and led to significant difficulties in displaying appropriate sexual
behaviors and achieving intimacy within his relationships with women. Rather, he was sexually
promiscuous with both men and women. He continued victimizing himself within these
relationships.

Mr. Murphy developed a condition of PTSD during childhood and adolescence and again never had
any type of remediation, treatment, or rehabilitative efforts for this psychiatric disorder. Rather, his
mother was very neglectful and she continued to abuse him or expose him to abuse. He often ran
away and developed very poor coping skills and he was very impulsive and reckless as a youth and
young adult. He developed chronic and significant alcohol and drug dependence issues and was
characterized as a dual diagnosed individual with no proper assessment or treatment in the
community for this condition. This complex trauma is again most noted to be related to his
repeated traumatization during his childhood, leading to severe disorganized attachment problems,
difficulties with intimate relationships, impulsive and reckless behaviors, and emotional regulation
deficits.

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This case is marked significantly by the early initiation of, the intense and frequent, as well as severe
and diverse traumatic experiences that have an overwhelming sexually abusive theme.
Unfortunately, Mr. Murphy was never offered any treatment for this traumatic history.


                                                Respectfully submitted,

                                                John Matthew Fabian


                                                _/s/ John Matthew Fabian
                                                _______________________________________
                                                e signature
                                                John Matthew Fabian, PSY.D., J.D., ABPP
                                                Board Certified Forensic & Clinical Psychologist
                                                Forensic & Clinical Neuropsychologist




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